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and Aquestive Therapeutics, Inc.

                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

                                         Civil Action No. 17-7106 (KM)(CLW)
INDIVIOR INC., INDIVIOR UK LIMITED,      Civil Action No. 18-5285 (KM)(CLW)
and AQUESTIVE THERAPEUTICS, INC.,        (Consolidated)

                      Plaintiffs,          NOTICE OF APPLICATION FOR AN
                                            ORDER TO SHOW CAUSE WHY A
       v.                                  PRELIMINARY INJUNCTION WITH
                                          TEMPORARY RESTRAINTS SHOULD
ALVOGEN PINE BROOK LLC,                              NOT ISSUE

                      Defendant.                   (Filed Electronically)



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       Attorney for Defendant
       Alvogen Pine Brook LLC
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        Plaintiffs Indivior Inc., Indivior UK Limited (together, “Indivior”), and Aquestive

Therapeutics, Inc. (collectively, “Plaintiffs”), by and through their undersigned counsel, submit

this Application for a Temporary Restraining Order and for issuance of an Order to Show Cause

Why a Preliminary Injunction Should Not Issue. Specifically, Plaintiffs move for entry of a

temporary restraining order that will restrain and enjoin Defendant Alvogen Pine Brook LLC

(“Alvogen”) from engaging in the commercial manufacture, use, offer to sell, or sale within the

United States of, or importing into the United States, its generic buprenorphine-and-naloxone-

containing transmucosal film products, through and including the return date of the Order to

Show Cause, and requiring Alvogen to show cause why it should not be preliminarily enjoined

from doing so throughout the pendency of this action or until the expiration of U.S. Patent No.

9,931,305.

        This application for an Order to Show Cause Why a Preliminary Injunction with

Temporary Restraints Should Not Issue is made pursuant to Rule 65 of the Federal Rules of Civil

Procedure on the grounds that there is a likelihood that Plaintiffs will succeed on the merits and

that Plaintiffs will be irreparably harmed if the relief is not granted.

        The Application is based on this notice, the accompanying Memorandum in Support of

Plaintiffs’ Motion for a Temporary Restraining Order and Preliminary Injunction and the

Declarations of Robert S. Langer, Sc.D., Richard Simkin, Mark Crossley, Robert Navarro,

Pharm.D., Gerald G. Fuller, Ph.D., and Keith Kendall, submitted herewith. Also submitted are a

[Proposed] Order to Show Cause with Temporary Restraints and a [Proposed] Order Granting

Preliminary Injunction.




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 Dated: January 22, 2019                   Respectfully submitted,
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